          Case 4:16-cv-00235-HLM Document 27 Filed 12/12/16 Page 1 of 14




                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                              ROME DIVISION

MARK A. WALDROP,                          )
                                          )
      Plaintiff,                          )
                                          ) Case No. 4:16-cv-235-HLM
vs.                                       )
                                          ) JURY TRIAL DEMANDED
COMMUNITY HEALTH SYSTEMS,                 )
INC.,                                     )
                                          )
      Defendant.                          )

                            AMENDED COMPLAINT

      Plaintiff Mark A. Waldrop (hereinafter “Mr. Waldrop”), by and through

counsel and pursuant to Federal Rules of Civil Procedure 7 through 11 and 15,

states as follows for his cause of action against Defendant:

      1.      Mr. Waldrop is an individual and resident of Hamilton County, Ten-

nessee.

      2.      Mr. Waldrop is a citizen and domiciliary of Tennessee.

      3.      Defendant is a Georgia nonprofit corporation having a principal office

located at 213 Third Street, Macon, Georgia 31201 and may be served with process

through Defendant’s registered agent Angela Hammack at 213 Third Street, Ma-

con, Georgia 31201.



                                          1
          Case 4:16-cv-00235-HLM Document 27 Filed 12/12/16 Page 2 of 14




      4.      Defendant is not incorporated in the State of Tennessee and does not

have a principal place of business in the State of Tennessee.

      5.      Defendant is a citizen of the State of Georgia.

      6.      The Court has subject matter jurisdiction over Mr. Waldrop’s claims

under 28 U.S.C. § 1332 because Mr. Waldrop and Defendant are citizens of differ-

ent States and the amount in controversy exceeds $75,000.00, exclusive of interest

and costs.

      7.      The Court has jurisdiction over Defendant under Federal Rule of Civil

Procedure 4(k)(1) because Defendant is deemed to be a resident of the State of

Georgia.

      8.      Venue is proper in the Northern District of Georgia under 28 U.S.C. §

1391(b)(2) because a substantial part of the events or omissions giving rise to Mr.

Waldrop’s claims occurred in Whitfield County, Georgia.

      9.      As of June 20, 2006, Mr. Waldrop and Defendant entered into the

Employment Agreement of Mark A. Waldrop (hereinafter “Employment Agree-

ment”).

      10.     The Employment Agreement was amended and restated as of January

1, 2009.

      11.     A true and exact copy of the amended and restated Employment



                                           2
       Case 4:16-cv-00235-HLM Document 27 Filed 12/12/16 Page 3 of 14




Agreement as of January 1, 2009 is attached hereto as Exhibit 1.

      12.   Under Paragraph 1 of the Employment Agreement, Mr. Waldrop

agreed to “serve as the Executive Vice President, Integration Services” for De-

fendant.

      13.   Section 2.1 of the Employment Agreement provides:

      Unless earlier terminated pursuant to Sections 2.2-2.6 below, the ini-
      tial term of [Mr. Waldrop]’s employment under this [Employment]
      Agreement began on January 1, 2006 and shall continue until Decem-
      ber 31, 2006 (the “Initial Term”); provided that such Initial Term shall
      be automatically extended for additional periods of one (1) year com-
      mencing on January 1, 2007 and each anniversary thereof (such peri-
      od or periods, the “Renewal Term”), unless either party shall have
      given notice to the other party at least thirty (30) days prior to the end
      of the Initial Term or the applicable Renewal Term (as the case may
      be) that such party does not desire to extend the term of this [Em-
      ployment] Agreement, in which event, the employment would termi-
      nate on December 31 of the Initial Term or applicable Renewal Term
      (as the case may be) (the Initial Term and the Renewal Term or
      Terms, if applicable, collectively, the “Term”).

      14.   Section 2.4 of the Employment Agreement provides:

      [Defendant] may terminate [Mr. Waldrop]’s employment hereunder
      for Cause upon prior written notice of termination to [Mr. Waldrop]
      with such Cause being specific in such notice. As used herein,
      “Cause” shall mean (i) [Mr. Waldrop]’s act or acts or omission or
      omissions amounting to gross negligence or willful misconduct which
      are detrimental to [Defendant] or its reputation; (ii) [Mr. Waldrop]’s
      conviction of, pleading guilty to, or confessing to any felony; or (iii)
      [Mr. Waldrop]’s failure to observe or perform any material covenant,
      condition, or provision of this [Employment] Agreement or of [De-
      fendant]’s written policies, and when such failure is capable of reme-
      dy, such failure is not remedied within 30 days after notice of such

                                          3
 Case 4:16-cv-00235-HLM Document 27 Filed 12/12/16 Page 4 of 14




failure is given to [Mr. Waldrop] by [Defendant].

15.   Section 2.5 of the Employment Agreement provides:

      (a) [Defendant] may terminate [Mr. Waldrop]’s employment
hereunder without Cause by giving [Mr. Waldrop] 30 days’ prior writ-
ten notice thereof.

      (b) In the event of [Defendant]’s termination of employment
without Cause, as severance pay [Defendant] shall, subject to Section
2.8 below, continue to pay the Salary to [Mr. Waldrop] for (1) year.
Such severance pay shall be payable in equal installments and in ac-
cordance with the regularly recurring pay periods established by [De-
fendant] but in no even less frequently than monthly.

16.   Section 2.7 of the Employment Agreement provides:

Upon termination of employment, all obligations of [Defendant] un-
der this [Employment] Agreement shall terminate except with respect
to (i) payment of compensation earned to the date of termination, (ii)
any severance payments required to be paid under Section 2 of this
[Employment] Agreement, (iii) reimbursement of expenses incurred
prior to the date of termination of employment to which [Mr. Wal-
drop] would have been entitled under this [Employment] Agreement,
and (iv) any unpaid vested amounts or benefits to which [Mr. Wal-
drop] would have been entitled as of the date of [Mr. Waldrop]’s date
of termination pursuant to any benefit plan. In addition to the forego-
ing, (a) upon termination of employment pursuant to Section 2.5 and
for the duration of the severance period set forth in Section 2.5(b),
[Mr. Waldrop] shall be provided benefits, at no cost to [Mr. Waldrop],
substantially similar to the employee benefits being provided to [Mr.
Waldrop] at the time of such termination; and (b) upon termination of
employment for any other reason, or immediately following the sever-
ance period set forth in Section 2.5(b), as applicable, [Mr. Waldrop]
shall have the option to purchase continuation coverage as to any [De-
fendant]-provided medical, dental or vision plan in which he partici-
pates, such option being in addition to any legally-mandated rights
[Mr. Waldrop] may have to COBRA continuance coverage as to any

                                  4
 Case 4:16-cv-00235-HLM Document 27 Filed 12/12/16 Page 5 of 14




[Defendant]-provided medical, dental or vision plan in which [Mr.
Waldrop] participates.

17.   Section 3 of the Employment Agreement provides:

For all services which [Mr. Waldrop] renders to [Defendant] during
the Term, [Mr. Waldrop] shall receive from [Defendant] an annual
salary as of January 1, 2009 (the “Salary”) of $562,680, less normal
withholdings. The Salary shall be paid to [Mr. Waldrop] on the regu-
larly recurring pay periods established by [Defendant], but in no event
less frequently than monthly. The amount of the Salary shall be re-
viewed annually by the Board of Directors of [Defendant] for, at the
discretion of the Board of Directors of [Defendant], possible increases
in such amount.

18.   Section 6.1 of the Employment Agreement provides, in relevant part:

       (a) “Business” shall mean: (a) the provision of rehabilitative
therapy, medical and personal support services, home care, medical or
pharmaceutical supplies or case management services; (b) the leasing,
ownership, management or operation of nursing facilities or assisted
living facilities (“assisted living facilities” being known under Section
31-712 of the Official Code of Georgia Annotated as “personal care
homes”); (c) the operation and management of a health care coopera-
tive; (d) the operation and management of one or more captive insur-
ance companies; and (e) other activities or provision of products or
services being conducted or provided, as applicable, or which [De-
fendant] has active plans to pursue, at the time of termination of [Mr.
Waldrop]’s employment.

      (b) “Competing Business” shall mean any person or entity
which engages in a business substantially the same as the Business or
any portion thereof.
                                  ...
      (f)    “Territory” shall mean the State of Georgia.

19.   Section 6.4 of the Employment Agreement provides:



                                   5
       Case 4:16-cv-00235-HLM Document 27 Filed 12/12/16 Page 6 of 14




      Except as set forth in Exhibit 6.4 attached hereto, [Mr. Waldrop] fur-
      ther covenants and agrees that, during the Term and for a period of
      twenty four (24) months thereafter, [Mr. Waldrop] shall not, without
      [Defendant]’s prior written consent, serve as an operations manager,
      an executive vice president of integration services or in any other po-
      sition requiring [Mr. Waldrop] to perform some or all of the duties
      that [Mr. Waldrop] was performing for [Defendant] at the time this
      [Employment] Agreement is terminated in the Territory for any Com-
      peting Business.

      20.   Exhibit 6.4 of the Employment Agreement provides:

            1.     Section 6.4 of this [Employment] Agreement shall not
      prohibit [Mr. Waldrop] from the continued ownership, operation or
      use of any real or personal property owned by [Mr. Waldrop] at the
      time of termination of [Mr. Waldrop’s] employment hereunder.

            2.     In the event that [Mr. Waldrop]’s employment is termi-
      nated by [Defendant] without Cause under Section 2.5 of this [Em-
      ployment] Agreement, then Section 6.4 of this [Employment] Agree-
      ment shall automatically terminate.

      21.   Section 17 of the Employment Agreement provides, “If either party to

this [Employment] Agreement breaches any terms hereof, that party shall pay to

the non-defaulting party all of the non-defaulting party’s costs and expenses, in-

cluding attorney’s fees, incurred by that party in enforcing the terms of this [Em-

ployment] Agreement.”

      22.   During Mr. Waldrop’s employment with Defendant under the Em-

ployment Agreement, Mr. Waldrop worked out of Defendant’s office in Dalton,

Whitfield County, Georgia.



                                        6
         Case 4:16-cv-00235-HLM Document 27 Filed 12/12/16 Page 7 of 14




        23.   From and after January 1, 2009, Defendant’s Board of Directors

raised the amount of Mr. Waldrop’s salary on several occasions.

        24.   Defendant eventually promoted Mr. Waldrop to the position of chief

operating officer.

        25.   As of June 28, 2016, Mr. Waldrop’s salary was $1,045,665.17 per

year.

        26.   As of June 28, 2016, Mr. Waldrop had accumulated eighteen days in

unpaid leave benefits in the amount of $72,392.20.

        27.   Joseph A. Wall (hereinafter “Mr. Wall”) is one of Defendant’s repre-

sentatives.

        28.   On June 28, 2016, Mr. Wall invited Mr. Waldrop to a meeting in At-

lanta, Georgia.

        29.   At the June 28, 2016 meeting, Mr. Wall advised Mr. Waldrop that Mr.

Waldrop’s employment with Defendant was terminated immediately.

        30.   None of Defendant’s representatives gave Mr. Waldrop an oral expla-

nation or reason for Mr. Waldrop’s termination on June 28, 2016.

        31.   None of Defendant’s representatives gave Mr. Waldrop a written ex-

planation or reason for Mr. Waldrop’s termination on June 28, 2016.

        32.   On July 1, 2016, Mr. Waldrop sent a letter (hereinafter “Waldrop Let-



                                         7
           Case 4:16-cv-00235-HLM Document 27 Filed 12/12/16 Page 8 of 14




ter”) to Wall and Defendant’s counsel.

       33.     A true and exact copy of the Waldrop Letter is attached hereto as Ex-

hibit 2.

       34.     In the Waldrop Letter, Mr. Waldrop requests an explanation for De-

fendant’s termination of Mr. Waldrop’s employment.

       35.     In response, Defendant’s counsel sent a letter (“Defendant Letter”) to

Mr. Waldrop on July 6, 2016.

       36.     A true and exact copy of the Defendant Letter is attached hereto as

Exhibit 3.

       37.     The Defendant Letter confirms that Defendant terminated Mr. Wal-

drop’s employment “effectively immediately on June 28, 2016” and offers to pro-

vide Mr. Waldrop with separation benefits.

       38.     The separation benefits offered in the Defendant Letter are less than

the severance benefits for a termination without cause under the amended and re-

stated Employment Agreement.

       39.     The Defendant Letter does not state any “Cause” or disclose the rea-

son for Mr. Waldrop’s termination.

       40.     Defendant did not provide to Mr. Waldrop any written notice of the

cause for Mr. Waldrop’s termination prior to the filing of this lawsuit.



                                           8
         Case 4:16-cv-00235-HLM Document 27 Filed 12/12/16 Page 9 of 14




                   COUNT ONE: BREACH OF CONTRACT

        41.   Mr. Waldrop repeats the allegations in Paragraphs 1 through 40 as if

fully realleged in this Paragraph.

        42.   The Employment Agreement constitutes an enforceable contract be-

tween Mr. Waldrop and Defendant.

        43.   By failing to provide prior written notice of Mr. Waldrop’s termina-

tion, Defendant has breached Sections 2.4 and 2.5(a) of the Employment Agree-

ment.

        44.   By failing to provide prior written notice of any cause for the termina-

tion of Mr. Waldrop’s employment, Defendant has breached Section 2.4 of the

Employment Agreement.

        45.   By failing to provide prior written notice and an opportunity for Mr.

Waldrop to remedy any cause for the termination of Mr. Waldrop’s employment,

Defendant has breached Section 2.4 of the Employment Agreement.

        46.   As a direct and proximate cause of Defendant’s breaches of the Em-

ployment Agreement, Mr. Waldrop has been and continues to be damaged.

        47.   Because the termination of Mr. Waldrop’s employment was without

prior written notice, and without prior written notice with Cause being specified in

such notice, Mr. Waldrop is entitled to the following damages under Section 2.7 of



                                          9
       Case 4:16-cv-00235-HLM Document 27 Filed 12/12/16 Page 10 of 14




the Employment Agreement: (i) any unpaid salary through June 28, 2016; (ii)

$1,045,665.17 in salary payments for one year to be paid no less frequently than

monthly; (iii) any unreimbursed expenses incurred by Mr. Waldrop prior to June

28, 2016; (iii) eighteen days in unpaid leave benefits totaling $72,392.20; and (iv)

benefits, at no cost to Mr. Waldrop, substantially similar to the employee benefits

being provided to Mr. Waldrop as of June 28, 2016, including, but not limited to,

medical benefits, dental benefits, vision benefits, disability and life insurance, and

long-term health care insurance.

      48.    As the non-defaulting party under the Employment Agreement, Mr.

Waldrop is also entitled to costs, expenses, and attorney’s fees under Section 17 of

the Employment Agreement.

                COUNT TWO: DECLARATORY JUDGMENT

      49.    Mr. Waldrop repeats the allegations in Paragraphs 1 through 48 as if

fully realleged in this Paragraph.

      50.    As evidenced by the Waldrop Letter and Defendant Letter, there is an

actual controversy regarding Mr. Waldrop’s rights under the Employment Agree-

ment pursuant to 28 U.S.C. § 2201(a).

      51.    In light of the terms of the Employment Agreement and contents of

the Waldrop Letter and Defendant Letter, Mr. Waldrop requests that the Court en-



                                         10
       Case 4:16-cv-00235-HLM Document 27 Filed 12/12/16 Page 11 of 14




ter a declaratory judgment confirming that Defendant’s termination of Mr. Wal-

drop was without prior written notice of termination and without prior written no-

tice of Cause under Section 2.5 of the Employment Agreement.

      52.    Since Defendant’s termination of Mr. Waldrop was without cause, the

Court should declare that: (i) the noncompetition covenant under Section 6.4 is au-

tomatically terminated as of June 28, 2016 in accordance with Paragraph 2 of Ex-

hibit 6.4 to the Employment Agreement; and (ii) Mr. Waldrop is entitled to any

other rights arising out of Mr. Waldrop’s termination without prior written notice

and prior written notice of cause under the Employment Agreement.

      WHEREFORE, in light of the foregoing, Mr. Waldrop respectfully requests

that the Court:

      1.     Issue process and cause process to be served on Defendant;

      2.     Enter a judgment in favor of Mr. Waldrop and against Defendant for

any unpaid salary payments through June 28, 2016 under Section 2.5 of the Em-

ployment Agreement;

      3.     Enter a judgment in favor of Mr. Waldrop and against Defendant for

$1,045,665.17 in salary payments for one year to be paid no less frequently than

monthly under Section 2.5 of the Employment Agreement;

      4.     Enter a judgment in favor of Mr. Waldrop and against Defendant for



                                        11
       Case 4:16-cv-00235-HLM Document 27 Filed 12/12/16 Page 12 of 14




any unreimbursed expenses incurred by Mr. Waldrop prior to June 28, 2016 under

Section 2.5 of the Employment Agreement;

      5.    Enter a judgment in favor of Mr. Waldrop and against Defendant for

eighteen days of unpaid leave benefits in the amount of $72,392.20 under Section

2.5 of the Employment Agreement;

      6.    Enter a judgment in favor of Mr. Waldrop and against Defendant for

benefits substantially equivalent to the employee benefits being provided to Mr.

Waldrop as of June 28, 2016 under Section 2.5 of the Employment Agreement, at

no cost to Mr. Waldrop, substantially similar to the employee benefits being pro-

vided to Mr. Waldrop as of June 28, 2016, including, but not limited to, medical

benefits, dental benefits, vision benefits, disability and life insurance, and long-

term health care insurance;

      7.    Declare that Defendant’s termination of Mr. Waldrop was without

cause under Section 2.5 of the Employment Agreement;

      8.    Declare that the noncompetition covenant in Section 6.4 of the Em-

ployment Agreement was automatically terminated on June 28, 2016 pursuant to

the provisions of Exhibit 6.4 of the Employment Agreement;

      9.    Declare that Mr. Waldrop is entitled to all rights arising out of Mr.

Waldrop’s termination without cause under the Employment Agreement;



                                        12
        Case 4:16-cv-00235-HLM Document 27 Filed 12/12/16 Page 13 of 14




        10.   Award Mr. Waldrop costs, expenses, and attorney’s fees under Sec-

tion 17 of the Employment Agreement;

        11.   Tax all costs to Defendant; and

        12.   Grant Mr. Waldrop such further relief that the Court deems equitable

and just.

                                          Respectfully submitted,

                                          GEARHISER, PETERS, ELLIOTT &
                                            CANNON, PLLC

                                          By: s/Gary L. Henry
                                              R. Wayne Peters (Ga. Bar #573700)
                                                   (wpeters@gearhiserpeters.com)
                                              Gary L. Henry (Ga. Bar #107821)
                                                   (ghenry@gearhiserpeters.com)
                                          320 McCallie Avenue
                                          Chattanooga, Tennessee 37402
                                          Telephone: (423) 756-5171
                                          Facsimile: (423) 266-1605
                                          Attorneys for Plaintiff Mark A. Waldrop

                       CERTIFICATE OF COMPLIANCE

        The undersigned certifies that this document has been prepared with one of

the font and point selections approved by the Court in Civil Local Rule of Practice

5.1B.

                                          GEARHISER, PETERS, ELLIOTT &
                                            CANNON, PLLC

                                          By:s/Gary L. Henry

                                         13
       Case 4:16-cv-00235-HLM Document 27 Filed 12/12/16 Page 14 of 14




                          CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a true and exact copy of the foregoing

was filed electronically. Notice of this filing will be sent by operation of the

Court’s electronic filing system to all parties or their attorneys of record as follows:

             Harold T. Daniel, Jr., Esq.
             Latoya Brisbane, Esq.
             Holland & Knight LLP
             Regions Plaza, Suite 1800
             1180 West Peachtree Street
             Atlanta, Georgia 30309

      This the 12th day of December, 2016.

                                            GEARHISER, PETERS, ELLIOTT &
                                              CANNON, PLLC

                                            By: s/Gary L. Henry




                                           14
